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                               UNITED STATES DISTRICT COURT

                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,

       Individual and Representative Plaintiffs,

  v.                                               Case No. 3:23-cv-03417-VC

META PLATFORMS, INC.,

                                    Defendant.




                                      REBUTTAL REPORT OF

                                 CRISTINA VIDEIRA LOPES, PhD

                                        FEBRUARY 03, 2025
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      79. However, the detailed data files show continuations much higher than Prof. Ungar included
in his report, including continuations as high as 50 tokens, i.e., complete verbatim completion.

                   2. ASSESSMENT
      80. Being that the possible number of passages from each book is in the tens of thousands, 100
samples from each book corresponds to a confidence interval less than 70%±5—too uncertain to
draw strong conclusions.60 Such a low confidence interval is unusual in memorization experiments
in contemporary practice. 100 was used in one of the earliest memorization experiments at Google
[14], but from then on, the number of samples of these experiments increased considerably. Carlini
et al. used 50,000 samples in one experiment and 1,000 samples in each repetition bin in another
[11]. Google later used 2,000 [33] and 10,000 samples [5][51][59]. This is a technicality, but, in
keeping with best practices, it is indicative that a more robust analysis of the results would be
needed.

      81. To make matters worse, Prof. Ungar reports only on average token completions.61 It is
well-known that averages are misleading especially when the data is highly skewed, as is the case
here. For example, as demonstrated upon closer examination of the data, the averages conceal
examples of significant completions of Plaintiff works which exceed double-digit tokens.

      82. Table 4 shows the longest length of completions for each of the 14 books, with double
digits highlighted. This table was not in Prof. Ungar’s reports. It was compiled by me by looking
at the data files he provided as supplemental material. This table shows the longest completions
that each model generated. In this case, longest completions are more meaningful than averages,
because we are looking for the existence of memorization of specific works, not for general model
behavior with respect to memorization. Thus, even one single occurrence of significant
regurgitation of a specific book must be reported as it is proof of existence of memorization. Prof.
Ungar failed to report his own results that clearly illustrate meaningful memorization by the Llama
models.




60
     See, for example, https://www.calculator.net/sample-size-calculator.html
61
     Ungar Opening Report, pages 217-218, Tables 36 & 37.


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      83. Consistent with results reported in the literature [11] and in internal Meta experiments, 62
here too, the largest models (70B) show more memorization than the smaller ones. I expect the
Llama 405B models to exhibit even stronger signs of memorization. Indeed, Prof. Ungar’s
experiments are additionally flawed because he focuses almost exclusively on the two smallest
Llama models, despite the literature uniformly confirming that memorization increases with size.
By opting not to run his test on the 405B model, he avoids the highly likely possibility that his
experiment would show even higher levels of memorization.




     Table 4. Longest completions--signs of memorization of Plaintiffs' books in Prof. Ungar’s experiment

      84. Looking closer, these long completions are neither trivial nor common. Table 5 shows
some examples:




62
  Meta_Kadrey_00000277 (internal Meta presentation titled “Memorization in LLMs & MME
[Memorization Measurement Engine]”).


                                                     31
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 The Bedwetter, Llama2-70B
 Row    she's going to accomplish in her life. It's        she's going to accomplish in her life. It's
 125    mind-blowing. And she's so grown up. She's         mind-blowing. And she's so grown up. She's a
        a mother. It's crazy. It's weird to think that     mother. It's crazy. It's funny to think that just a
        just a few years                                   few

 The Beautiful Struggle, Llama3-70B
 Row     are the walking lowest rung, and all that         are the walking lowest rung, and all that
 322     stands between us and beast, between us and       stands between us and beast, between us and
         the local zoo, is respect, the respect you take   the local zoo, is respect, the respect you take
         as natural as sugar and shit. We know what        as natural as sugar and shit. We watch your
         we are, that we walk like we are not              movies and we root for Rambo, because any

 Blood Oath, Llama3-70B
 Row     he can just as well get himself killed for one;   he can just as well get himself killed for one;
 1286    in either case, tyrant or martyr, he is a         in either case, tyrant or martyr, he is a
         monster.                                          monster.
         â€” _E. M. Cioran_                                â€”E. M. CIORAN, A SHORT HISTORY OF
         **K** haled watched Dylan run into the            DECAY
         night from the back of                            The sun had not yet risen when the plane


                Table 5. Examples of completions that are almost identical to the originals

   85. An inspection of the results for A View from the Stars of Experiment 2 also shows signs of
memorization.

 A View from the Stars, Llama2-13B (base, untrained)
 Row     arth enjoys unprecedented prosperity due to       arth enjoys unprecedented prosperity due to
 32      the infusion of Trisolaran knowledge and,         the infusion of Trisolaran knowledge. With
         with human science advancing and the              human science advancing and the Trisolarans
         Trisolarans adopting Earth culture, it seems      adopting Earth culture, it seems that the two
         that the two civilizations can coexist            civilizations will soon be able to co
         peacefully

 A View from the Stars, Llama2-7B (base, untrained)
 Row     once in the 1950s and again in the eighties.      once in the 1950s and again in the 1980s. The
 12      But no clear boundary then existed between        first wave was a product of the Cultural
         sci-fi and mainstream literature, so no           Revolution, when the government encouraged
         legitimate fan base formed around the genre.      the creation of science fiction as a way to
         After sci-fi came under siege                     promote science and technology.



   86. Experiment 2 had one additional methodological problem in that some of the prompts were
unrelated to the content of the books, reflecting insufficient care with data cleaning—another red
flag with respect to experimental soundness. As an example, the following prompt was used for
Vamp:


                                                    32
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The following is an excerpt from "Vamp" by "Loren Estleman". Please provide the next 50 tokens in the
passage.
, organizations, and events portrayed in this novel are either products of the authorâ€™s imagination or are
used fictitiously.
VAMP
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Cover illustration by Claudia Caranfa
Original design by Daniel Cullen, adapted by Forge Books
A Forge Book
Published by Tom Doherty Associates / Tor Publishing Group
120 Broadway
New York, NY 10271
www.tor-forge.com
ForgeÂ® is a registered trademark of Macmillan Publishing Group, LLC.
The Library of Congress Cataloging-in-Publication Data is available upon request.
ISBN 978-1-250-89247-8 (hardcover)
ISBN 978-1


    87. In my opinion, any completions greater or equal than, say, 4 tokens raise red flags, because,
sometimes, the generated text also offers non-verbatim similarity with the original.
Table 6 shows examples of such completions in Llama 2 7B.

 Llama2-7B
 Row     Original                                       Generated                                      Length
 171     Obama. The Great Schlep would urge             Obama. The Great Schlep was a                  8
         the grandchildren of Jewish geezers to         campaign to send thousands of young
         get down to Florida, dispel their              Jews to Florida to talk to their
         grandparents' misguided fears of the           grandparents and great-grandparents. It
         black man with the funny name, and             was a way to help the elderly Jews of
         convince                                       Florida see their grandchildren'
 1040    in a towel. "Why do you care about this,       in a towel. "Three months. And she's due       6
         Emilia? She's just about three months.         in June. So she's about to find out if she's
         She told me that when we lost Isabel it        having a boy or a girl."
         made her realize that she wanted another       "Three months," I repeat. "She's three
         child. She got pregnant right away."           months

                  Table 6. Additional sample completions from Llama 2 7B experiments

    88. The reason why even these small completions raise red flags is that they show that the
model is holding on to information about the sequences of tokens in the training data. We can see
many of these in the detailed results data files.

    89. In studying memorization, it is important to distinguish between the memorization itself
and the procedures used to expose it [26]. The procedure used in this and other experiments for


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measuring memorization is not good enough to extract that memory, at least from the smaller
models. But that does not lead to the conclusion that the models have not memorized the Plaintiffs’
works. The models may very well be capable of recalling those passages using more creative
extraction approaches. Here, too, Prof. Ungar confuses absence of evidence with evidence of
absence [4], and puts forward an interpretation of his experiment that is fundamentally flawed.

     90. In conclusion, it is my opinion that this experiment does not prove that the Llama models
don’t memorize the Asserted Works. On the contrary, it shows significant signs of memorization
in the 70B models, and it shows that the extraction method used here is not necessarily the best
possible method of extraction. Better methods will likely emerge.

     E.     TESTS ON LLAMA3 70B SHOW SIGNIFICANT MEMORIZATION
     91. Following Prof. Ungar’s findings of significant signs of memorization in the 70B models,
I have been asked to try to reproduce the results recently reported online, which showed substantive
memorization in the Llama models related to proprietary software code bases 63 and some of the
Plaintiffs’ works.64 Counsel provided me with 73 passages drawn from a variety of books,
including Asserted Works, to be used as prompts for completion using the Llama 3 8B and the
Llama 3 70B models.

     92. Overall, the Llama 3 70B model was able to continue all 73 passages successfully,
according to multiple metrics, showing strong memorization effects. In 60% of the cases, the
Llama 3 70B model was able to extend the prompt by 50 tokens that were identical to the
corresponding text in the copyrighted work. In the other cases, the similarities were still
substantial. In all 73 cases, Llama 3 70B outperformed Llama 3 8B model in recalling the passages.
The results also show that Prof. Ungar’s metric, i.e., exact token sequence, underestimates the
amount of similarity between the completions and the original texts.




63
       https://www.linkedin.com/posts/louiswhunt_over-400-pages-of-algorithmically-generated-
activity-7274952160776261632-yYlV/
64
    https://www.linkedin.com/posts/louiswhunt_sarahksilverman-for-you-here-are-131-activity-
7274512589936549892-Cyv1/


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                 3. PROF. UNGAR’S METRIC UNDERESTIMATES SIMILARITY
   99. In other parts of this report, I already alluded to the fact that Prof. Ungar’s metric of choice,
exact token sequence match, underestimates the real similarity between the completion and the
original texts. The results obtained in this test clearly confirm that observation. In many cases, we
see low values of the exact sequence match, meaning that the sequence was broken by a token that
is not in the original text, but high values of the other metrics, meaning that the model was able to
recall those additional tokens. Table 7 shows some of these examples for Llama 3 70B. The exact
examples can be found in Appendix C—their numbers are in the names seen here.

 018_#866061.1.pdf        025_#865738.1.pdf         028_#865996.1.pdf          037_#865687.1.pdf
 Exact      0.4815        Exact      0.1198         Exact      0.1534          Exact      0.2105
 BLEU       0.8678        BLEU       0.6696         BLEU       0.9250          BLEU       0.6584
 Jaccard    0.8710        Jaccard    0.6033         Jaccard    0.9438          Jaccard    0.6111
 Edit dist. 0.8457        Edit dist. 0.6168         Edit dist. 0.9261          Edit dist. 0.5489

 038_#865826.1.pdf        051_#865941.1.pdf         061_#865995.1.pdf          071_#865802.1.pdf
 Exact      0.3659        Exact      0.4516         Exact      0.2710          Exact      0.3503
 BLEU       0.7652        BLEU       0.9085         BLEU       0.9572          BLEU       0.8608
 Jaccard    0.6379        Jaccard    0.8868         Jaccard    0.9672          Jaccard    0.8385
 Edit dist. 0.7724        Edit dist. 0.8871         Edit dist. 0.9252          Edit dist. 0.8854

                           Table 7. Exact sequence match vs. other metrics




                                                       Respectfully Submitted,



                                                       ____________________________
                                                       Cristina (“Crista”) Videira Lopes, PhD
                                                       February 3, 2025




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